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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
 !
 !
 UNITED STATES OF AMERICA,
 !
          Plaintiff,
     !
 Vs.                                         Case No. 17-20183
                                             Hon. MARK A. GOLDSMITH
 !
 HAROLD LASHAWN NERO (D-5),
 !
           Defendant.
 __________________________________________________________________
 !
 !
              DEFENDANT (D-5) NERO’S RESPONSE
     TO GOVERNMENT’S MOTION FOR CONTINUANCE AND FINDING
                 EXCLUDABLE DELAY (Doc. 250)
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       Defendant, (D-5) Harold Nero, moves this Honorable Court to deny the

 government’s motion (Doc. 250) because its request for a continuance violates

 Defendant’s Speedy Trial Act rights under 18 U.S.C. § 3161.

                                             Respectfully submitted,
 Date: November 16, 2018
                                             By: s/Mark H. Magidson
                                               MARK H. MAGIDSON (P25581)
                                               Attorney for Defendant Shy
                                               615 Griswold, Ste. 810
                                               Detroit, MI 48226
                                               (313) 963-4311
 !
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                    BRIEF IN SUPPORT OF
              DEFENDANT (D-5) NERO’S RESPONSE
     TO GOVERNMENT’S MOTION FOR CONTINUANCE AND FINDING
                 EXCLUDABLE DELAY (Doc. 250)
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                                        FACTS

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       Defendant Nero has been in custody since June 30, 2017, and he was

 arraigned on the superseding indictment on September 28, 2017.

       Before Nero was in custody, the government and co-defendants had

 stipulated to a finding that this was a “mega” case. Nero has never stipulated that

 this is a mega case.

       Nero agreed to two continuances excluding the time from his arraignment to

 May 23, 2018. (Stip. Order, Doc. 171, Pg ID 482-483). Nero agreed to those

 continuances despite the fact that the government chose to indict him before it had

 sufficiently reviewed the evidence it had collected.

       At the November 14, 2018 status conference, the government and co-

 defendants stipulated to a trial date in January 2020. Nero objects and is ready to

 proceed to trial.

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                                     ARGUMENT

       The Speedy Trial Act requires that a defendant's trial begin within 70 days

 after his indictment or his first appearance before a judicial officer, whichever is


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 later. 18 U.S.C. § 3161(c)(1). A delay beyond the 70-day period attributable to

 joinder is not a ground for a severance, per se, because the Speedy Trial Act

 contains an express exclusion of a "reasonable period of delay when the defendant

 is joined for trial with a co-defendant as to whom the time for trial has not run and

 no motion for severance has been granted." 18 U.S.C. § 3161(h)(6). That is, a

 single speedy trial clock governs, and delay attributable to any one defendant is

 applicable to all defendants. "The only inquiry made in such multiple defendant

 cases is whether the delay is 'reasonable.' " United States v. Gambino, 59 F.3d 353,

 362 (2d Cir. 1995). Moreover, a defendant must expressly move for severance on

 the ground of seeking a speedy trial to trigger this reasonableness requirement.

 United States v. Vasquez, 918 F.2d 329 (2d Cir. 1990). Nero filed a motion to sever

 on September 21, 2018. (Doc. 211).

       The government argues that a continuance through the trial date of January

 6, 2020, is necessary because of the complexity of this case, the volume of

 discovery, the number of defendants, and because Nero requested the video

 Review Lists and filed motions. (Doc. 250, Pg ID 1016, 1019).

       Nero argues that the government’s “lack of diligent preparation” before

 filing the indictment against him is a reason to deny it's request for an additional

 continuance resulting in Nero spending three-and-a-half years in custody because

 of its lack of diligent preparation. See 18 USC 3161(h)(A) and (C).



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        The Speedy Trial Act specifically states that “[n]o continuance . . . shall be

 granted because of . . . lack of diligent preparation or failure to obtain available

 witnesses on the part of the attorney for the Government.” 18 USC 3161(h)(C).

        The government relies on the fact that the Defendants have demanded

 discovery of the voluminous hours of surveillance video; however, before filing the

 indictments, the government knew that it would need to produce that discovery in

 this case. The government’s lack of diligence before indictment, when it could

 have conducted its investigation and reviewed the discovery material—the

 evidence of its longterm investigation—will result in Nero sitting in custody for

 three-and-a-half years. Also, the Defendants’ review of the video would not have

 taken as long if the government had not waited months to provide its Review Lists

 until after the Defendants’ requests.

        The Speedy Trial Act protects defendants from having to sit in jail for this

 very reason—allowing the government to indict, and while a defendant sits in

 custody, then conduct its investigation and produce its evidence. 18 USC 3161(h)

 (C).

        The ends of justice are not served by a continuance, and it is not in the best

 interest of the public and Defendant Nero in a speedy trial. Nero’s Sixth

 Amendment right to a speedy trial are being violated.

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       WHEREFORE, Defendant (D-5) Nero moves this Honorable Court to deny

 the Government’s motion for a continuance.

                                                 Respectfully submitted,
 Date: November 16, 2018
                                                 By: s/Mark H. Magidson
                                                   MARK H. MAGIDSON (P25581)
                                                   Attorney for Defendant Nero (D-5)
                                                   615 Griswold, Ste. 810
                                                   Detroit, MI 48226
                                                   (313) 963-4311
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 !
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 !
                            CERTIFICATE OF SERVICE
                                             !
       I certify that on November 16, 2018, I electronically filed the above Motion

 and brief with the Clerk of the Court using the ECF system, which will send

 notification of such filing to the parties of record.

                                                 By: s/Mark H. Magidson
                                                   MARK H. MAGIDSON (P25581)
                                                   Attorney for Defendant Shy (D-13)




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